EXHIBIT A
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ROCKLAND
In the Matter of the Application of

:tvllCHAEL SULLIVAN,
                                                                               SUMMONS
                                    Petitioner/Plaintiff~



For a Judgment Pursuant to CPLR Article 78
and for a Declaratory Judgment and other relief
                                                                               Justice Assigned:
                                                                               Hon.

GEORGE HOEHMANN, Individually and as Town
Supervisor of the Town of Clarkstown, Councilman FRANK
BORELLI, Individually and as a Member of the Clarkstown
Town Board, Councilwoman STEPHANIE HAUSNER, as a
Member of the Clarkstown Town Board, Cmmcilman JOHN
J. NOTO, Individually and as a Member of the Clarkstown
Town Hoard, Councilwoman ADRIB'NNE D. CAREY,
Individually and as a Member of the Clarkstown Town
Board, the TOWN OF CLARKSTOWN and the TOWN
BOARD OF THE TOWN OF CLARKSTOWN,
                                                                               Index No.: SU-2016-001260
                                    Respondents/Defendants.
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To the above-named defendants:

        YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or if the complaint is not served with this summons, to serve a notice of
appearance on the plaintiffs' attorney within twenty (20) days after the service of this summons,
exclusive of the day of service (or within thirty [30] days after the service is complete if this
summons is not personally delivered to you within the State of New York); and in case of your
failure to appear or answer, judgment will be taken against you by default for the relief demanded
in the complaint.

Dated: West Nyack, New York                                                                  \

       August 23, 2016

                                                                         Richard Glickel
                                                                         Attorney for Petitioner aintiff
                                                                         2 Crosfield Avenue • Suite 103
                                                                         West Nyack, New York 10994
                                                                         ph(845)353-4300;fx.(845)353-6221
                                                                         rglickel@optonline.net


The basis ofvenue is: Plaintiff & Defendants reside in Rockland Countv.
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ROCKLAND
--~-------~-------------------~----------------------------------------~-}{.
In the Matter of the Application of

MICHAEL SULLIVAN,

                                     Petitioner/Plaintiff,
                                                                               VERIFIED PETITION/COMPLAINT

For a Judgment Pursuant to CPLR Article 78
and for a Declaratory Judgment and other relief
                                                                               Justice Assigned:
         - against-                                                            Hon.

GEORGE ROEHM.ANN, Individually and as Town
Supervisor of the Town of Clarkstown, Councilman FRANK
BORELLI, Individually and as a Member of the Clarkstown
Town Board, Councilwoman STEPHANIE HAUSNER, as a
Member of the Clarkstown Town Board, Councilman JOHN
J. NOTO, Individually and as a Member of the Clarkstown
Town Board, Councilwoman ADRIENNE D. CAREY,
Individually and as a Member of the Clarkstown Town
Board, the TOWN OF CLARKSTOWN and the TOWN
BOARD OF THE TOWN OF CLARKSTOWN,
                                                                               Index No.:
                                     Respondents/Defendants.
-------------------------------------------------------------------------){


         Petitioner/plaintiff, by his attorney, Richard A. Glickel, respectfully states and alleges that:


                                                    THE PARTIES

         1. At all times hereinafter mentioned petitioner/plaintiff, MICHAEL SULLIVAN,

(''petitioner"), was and is the duly appointed Chief of Police of the Town of Clarkstown Police

Department and resides in the Town of Clarkstown., New York.

         2.    At all times hereinafter mentioned, respondent/defendant GEORGE HOEHMANN, is

the elected Town Supervisor of the Town of Clarkstown and before his election as Supervisor,
respondent served as a member of the Clarkstown Town Board. Respondent-BOEHM.ANN

("ROEHM.ANN'') was and is a resident ofthe Tovvn of Clarkstown, County ofRockland, New York

State. HOEIDvfANN is sued herein in his official and individual capacity.

       3. At all times hereinafter mentioned, respondent/defendant FRANK.BORELLI, was and

is an elected member of the Clarkstown Town Board. Respondent-BORELLI ("~ORELLI") is a

resident of the Town of Clarksto~ County of Rockland, New York State and is sued in his official

and individual capacity.

        4.   At all times hereinafter mentioned, respondent/defendant STEPHANIE HAUSNER,

was and is an elected member of the Clarkstown Town Board. Respondent-HAUSNER

e'HAUSNER") is a resident of the Town of Clarkstown, County of Rockland, New York State and

is sued in her official capacity.

        S. At all times hereinafter mentioned, respondent/defendant JOHN J. NOTO, was and is

an elected member of the Clarkstown Town Board. Respondent-NOTO ("NOTO") is a resident of

the Town of Clarkstown, County of Rockland, New York State and is sued in his official and

individual capacity.

        6.   At all times hereinafter mentioned, respondent/defendant ADRIENNE D. CAREY, was

and is an appointed member of the Clarkstown Town Board. Respondent-CAREY ("CAREY'') is

a resident of the Town of Clarkstown, County of Rockland, New York State and is sued in her

official and individual capacity.

        7. The supervisor and town councilpersons constitute the TOWN BOARD OF THE

TOWN OF CLARKSTOWN which, as a body exercises all the powers and is subject to all the duties

imposed by law upon town boards.

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       8.   The TOWN OF CLARKSTOWN, is a duly incorporated political subdivision of the

State of New York, organized under and pursuant to the Constitution and the laws of the State of

New York, being located within the County of Rockland and maintaining its principal offices at 10

Maple Avenue, New City, New York.


                                           JURISDICTION

       9.    Subject matter jurisdiction over this action vests in the Supreme Court pursuant to

Article VI,§ 7 of the Constitution of the State of New York.


                                              VENUE

        10. Rockland County is the proper place of trial (CPLR § 506 [a] & [b]). Each of the

individually named defendants reside in the county (CPLR § 503[a]); and the town is situated in

Rockland County (CPLR § 504 [2]).


                                      NATURE OF THE CASE

        11. Petitioner brings this hybrid action for declaratory and injunctive relief and

compensatory and punitive damages pursuant to CPLRArticle 78, CPLR 3001, Public Officers Law

§ 100, et seq., (the "Open Meetings Law'') and Civil Service Law§ 75 (b) &LaborLaw § 740, and

respondents improper government action and violations oft inter alia, the First, Fifth and Fourteenth

Amendments to the Federal Constitution, 42 U.S.C. § 1983, Penal Law§§ 195.05 and 200.00, et

seq., (the "Public Trust Act").

        12. Petitioner is a career law enforcement officer. Since February 2011 through present

petitioner has served as the duly appointed Chief of Police of the Clarkstown Police Department.



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       13. Since his election in November 2015, HOEHMANN, in concert with BORELLI and

NOTO, has acted to publically humiliate and marginalize petitioner.

       14. Purporting to act on behalf of, or as, a non-existent "board of police commissioners'\

HOEHMANN and the other respondents have attempted to limit and usurp the powers invested in

petitioner as the chief executive officer of the Clarkstown Police Department.

       15. Respondents' hostile actions are intended to induce petitioner's retirement.

       16. Petitioner has maintained an exemplary unblemished 33-year career in law enforcement.

At 53-years of age, petitioner enjoys excellent health and loves serving as the police chief for the

community he grew up in, and where he has raised his own family. Petitioner hasn't considered an

early retirement.

        17. As a perma.nent civil service appointee with no intention of retiring, respondents

embarked on a scheme to force petitioner's departure through charges ofmisconduct as justification

for petitioner's dismissal under the Rockland County Police Act.

        18. On July 19, 2016, respondents-HOEHMANN, BORELLI, NOTO and CAREY presented

petitioner with written charges1 alleging petitioner's misconduct and incompetence, and petitioner

was notified of his suspension from duty pending the disposition of said charges.

        19. The actions of the respondents leading up to and including petitioner's suspension from

duty were in violation oflawful procedure, rendered without jurisdiction, and con.stitute retaliatory

disciplinary and adverse personnel action against petitioner in reaction to petitioner's objection to

and disclosure of respondents' improper government action and petitioner's exercise of his First



            A copy of the "notice and statement of charges" dated July 20, 2016, is annexed hereto
as Exhibit A.
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Amendment rights.

       20. The "notice and statement of charges" dated July 20, 2016, ("Notice'~, establishes

respondents' intent to schedule and proceed with the hearing of disciplinary charges and that such

hearing would render ineffectual a declaratory judgment and/or judgment in accordance with CPLR

7806 in favor of the petitioner and that immediate irreparable injury, loss or damages has resulted

and will continue to result unless the respondents/defendants are stayed and restrained from

proceeding with such hearing.

       21. Petitioner requires an immediate temporary stay and preliminary injunctive relief, staying

and enjoining respondents from proceeding to schedule and conduct the hearing described in the

Notice dated July 20, 2016, pending the Supreme Court's hearing, determination and judgment and

declaration of the issues and claims presented herein.


                                            THE FACTS

       22. The Town of Clarkstown has established and maintains a town police department in

accordance with the Rockland County Police Act (L.1936, c.526).2

       23. From its establishment, the Clarkstown Police Department has had an appointed chief

of police as required by the Rockland County Police Act.

       24. Pursuant to the Rockland County Police Act a town board may appoint one or three

police commissioners and delegate its powers to such commission. Should the town board appoint

only one commissioner, then two town board members shall be appointed to constitute a three-

member police commission. A town board may also abolish its police commission and thereupon


            A copy of the Rockland County Police Act, as amended, is annexed hereto as Exhibit
B.
                                                 s
exercise the powers granted to the town board under the Rockland County Police Act.

       25. From 1974 through 2004 the Town of Clarkstown did have a police commission

comprised of one "citizen" police commissioner and two members of the town board. The town

board abolished the Clarkstown Police Commission in April 2004. The town boa.rd has never re-

established the Clarkstown Police Commission.

       26. That in accordance with the Rockland County Police Act and in furtherance of the

organization, government, discipline and administration ofthe Clarkstown Police Department, there

exists a body of written general orders$ rules and regulations as adopted and amended from time-to-

time by the town board and the clarkstown police commission (when such commission existed).

       27. That pursuant to General Order 110 ofthe Rules & Regulations ofthe Clarkstown Police

Department, petitioner is the chief executive officer of the Clarkstown Police Department, subject

to the rules an regulations prescribed by the police commission. See, Exhibit C.

        28. As Clarkstown's Chief of Police, the government and control of the police department

and its members is vested in the petitioner.

       29. At the direction of the Chief of Police or his designee, any member of the Clarkstown

Police Department may be investigated and examined and written disciplinary charges may be

preferred against a member who shall be entitled to a full evid.entiary hearing.

        30. On the evening of June 28, 2016, petitioner was informed by the Town's deputy town

attorney thatrespondent.s had obtained information that CPD Sergeant Stephen Cole--Hatchard ("Sgt.

Cole-Hatcb.ard") may have revealed confidential personnel·related information to an investigative

reporter for the Journal~News following an e-mail exchange between that reporter and Cole-

Hatchaxd.


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       31. Petitioner agreed to promptly investigate the matter and asked if respondents could

identify that reporter and provide the date of the e-mail(s). Respondents would not volunteer any

information to assist petitioner.

       32. The following morning Sgt. Cole-Hatchard was directed to petitioner's office where he

was served with the department's "Notice ofInternal Investigation" and apprised ofthe nature of the

complaint against the sergeant and that petitioner intended to formally interview him, that day, in

the presence of his PBA representative and legal counsel.

       33. Following the interview, petitioner let the deputy town attorney know that Sgt. Cole-

Hatchard did recall an email exchange with a Journal-News reporter. The sergeant denied that any

information concerning a pending personnel matter was disclosed as he (Sgt. Cole-Hatcb.ani) would

not have had any information to impart on that matter in any event.

        34. On July 1, petitioner's investigation was in an early stage and obviously incomplete.

That afternoon - after leaving the police station to begin his holiday weekend - petitioner received

HOEHMANN's email stating that '~irrespective" of whether petitioner's investigation resulted in

disciplinary charges, Sgt. Cole-Hatchard was to be immediately removed from the Strategic

Intelligence Unit and reassigned to the detective bureau at CPD headquarters. And the sergeant was

not to be assigned any duties that would entail his contact with the press and media..3

        35. The email demanded that petitioner confirm Sgt. Cole~Hatchard's reassignment out of

the Strategic Intelligence Unit that same day. Exhibit D.

        36. HOEHMANN knew that Sgt. Cole-Hatcbard was on vacation in Florida that day.


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            A copy ofHoehmann's memo sent to the petitioner in the afternoon of Friday, July 1,
2016, is annexed hereto as Exhibit D.

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        37. HOER.MANN'S directive was issued without any discussion or consultation between

the petitioner and any ofthe respondents, either individually or as a duly constituted municipal board

or commission, concerning the reassignment of CPD personnel, or without consideration of the

potential adverse consequence of the abrupt rem.oval of Sgt. Cole-Hatchard from the Strategic

Intelligence Unit which he (Cole-Hatchard) helped create and manage.

        38. Upon infonnation and belief, HOEH.MANN's directive constituted an adverse

employment action th.at was punitive to a member officer of the police department and in derogation

of the powers specifically invested in the chief of police by the general orders and rules adopted by

the town board.

        39. Upon information and belief, HOEHMANN'S directive constituted improper

government action in violation of federal, state or local law, rule or regulation including, inter alia,

Sgt. Cole-Hatchard's free speech and due process rights under the Federal Constitution.4

        40. HOER.MANN'S email purported to represent a decision of the "board of police

commissioners" arrived at after "separate consultation with other members of the town board".

        41. No meeting of either, the town board or any "board of police commissioners" was

noticed or convened. No vote of either the town board or any "board of police commissioners" was

taken or recorded. No record of any such meeting(s) or any minutes thereof are on file in the Office

of the Clarkstown Town Clerk as no such records exist.

        42. On Sunday, July 3, 2016, petitioner attempted to communicate with the "other'' town

board members to confirm that the board was in accord with HOEH.MANN's July 1 directive.

        4
            A copy ofCole-Hatchard' s federal complaint as filed in the Southern District on or about
7/23/2016, is annexed hereto as Exhibit H (i.e., Stephen Cole-Hatchardv Hoehmann, et al., 7: 16-cv-
05900).

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       43. Respondents BORELLI, NOTO and CAREY answered that they agreed with

HOEHMANN. Councilwoman HAUSNER did not respond.

       44. On July 4th, Sgt. Cole-Hatchard reported "sick" so petitioner telephoned Sgt. Cole-

Hatchard from headquarters and inform.ed him of HOEHMANN' S directive and instructed Sgt.

Cole-Hatchard to report for duty to CPD headquarters the following day. Respondents were so

informed of the sergeant's reassignment.

       45. Petitioner interviewed the Journal-News reporter on July 6 who told petitioner that he

did not remember discussing the personnel matter with Sgt. Cole~Hatclrard and petitioner renewed

his request to the town board for any information the board or any individual board members had

concerning Sgt. Cole-Hatchard' s possible misconduct in furtherance ofthe completion ofpetitioner's

investigation. Exhibit E.

       46. The board refused petitioner's request citing their role in rendering a. final determination

upon a possible disciplinary hearing as justification. Respondents were actually concealing the fact

that HOEHMANN's staff had entered the CPD computers and reviewed the police department's

emails. HOEH1v1ANN's clandestine incursion into the police department,s computers was known

to the respondents who had already accessed the email exchange between the reporter and Sgt. Cole-

Hatchard.

       47. On July 11, 2016, petitioner requested "IT', assistance in obtaining emails from and to

Sgt. Cole-Hatchard as well as a list of incoming and outgoing telephone calls.

       48. On July 13, petitioner located the email exchange between t.he Journal-News reporter

and Sgt. Cole-Hatchard.

       49. The em.ails, dated March 16, 27 & 28, 2016, addressed the town board's rumored


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anticipated settlement with a former Clarkstown police officer who was, reportedly, the primary

financier ofHOEHMANN'S successful campaign for town supervisor during the Fall of2015, and

HOEHMANN's selection of"an Astorino gui', to serve as the police expert for an efficiency study

of the Clarkstown Police Department.

       50. The exchanged opinions - unrelated to Sgt Cole-Hatchard's police duties - raised a

suspected.Jack oftransparency regarding the anticipated settlement with the former police officer and

the Republican Chaimum's influence on HOEHMANN. Nothing of a confidential nature was

discussed or revealed in the emails.

        51. Petitioner's investigation was unfinished; at that point, there was no evidence of Sgt.

Cole-Hatch.a.rd' s misconduct. On July 14, he sought to obtain through the town's "IT" administrator

additional emails from or to Sgt. ColemHatchard from January 1 through March 27, 2016.

        52. On July 19, 2016, petitioner was summoned to HOEHMANN's office at 7:30 that

evening- ostensibly to discuss the "status" ofpetitioner's investigation ofthe Cole-Ha.tchard matter.

        53. There was no status conference. Instead, and in the presence of HOEHMANN,

BORELLI, NOTO and CAREY~ the town attorney and deputy town attorney and HOEHMANN, s

chief of staff, petitioner was handed two documents.

        54. The first was a "settlement agreement and general release", the terms of which would

allow petitioner to remain on payroll, with benefits, etc., through December 31, 2016, in exchange

for petitioner's tender of bis irrevocable letter of resignation- and his silence - petitioner could

retire, in "good standing", at year's end. Exhibit F.

        55. The second document was a notice and statement of charges. Exhibit A.

        56. Petitioner was given until 3 p.m. the following afternoon to either accept the proffered


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settlement or face the disciplinary charges specified in the notice and statement of charges and his

immediate suspension from duty.

       57. Following their meeting with petitioner, the respondents-minus HAUSNER who was

absent - proceeded to convene a regularly scheduled meeting of the town board.

        58. Petitioner declined the "settlement" on July 20 and was suspended from duty that

afternoon.

        59. Literally within minutes of petitioner's suspension HOEHMANN had forwarded an

email to the entire police department informing the officers of petitioner's suspension. Petitioner's

computer and cell phone service were terminated and his access to headquarters denied. Petitioner

was not allowed the opportunity to explain his status to the men and women serving under his

command.

        60. The next day HOEHfv.IANN'S office publically announced that urouowing a unanimous

decision by the Town Board, Chief Michael Sullivan has been suspended,,, Exhibit G.5

        61. Town board member HAUSNER disavowed the board's action asserting that she "did

not participate in any vote and had told the town attorney and the supervisor th.at [she] was not

prepared to vote on the suspension of the police chief without seeing any formal charges". Exhibit

G.
        62. No vote was taken or recorded reflecting either the preferring of formal charges against

the petitioner or of his suspension from duty. There are no minutes of the town board's actions

memorializing the preferring ofcharges and petitioner, s suspension from duty. That no record of any


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            Exhibit G is an "on-line" (lohud.com) version ofn Journal-News story reporting the
statements quoted in mr 60 & 61 above.

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such meeting(s) or any minutes thereof are on file in the Office of the Town Clerk of the Town of

Clarkstown and no such record exist.


                                   FOR A FIRST CAUSE OF ACTION
                                       (Open Meetings Law)

        63. Petitioner repeats all of the allegations contained in paragraphs "1" through "62" of the
                                                                                                 11
verified petition with the same force and effect as if at length set forth in this paragraph ~'63 •

        64. By conducting the business of a public body on or about July l, 2016 - either as a town

board or as a ' 4board of police commissioners" -without convening such body and without record

of such business# respondents acted in violation of the provisions of the Open Meetings Law and

failed collectively as a body and as public officers to perform a duty required by law.

        65. That as a result of such business, petitioner was caused to enforce punitive and adverse

employment action against a member of the Clarkstown Police Department serving under his

comm.and.

        66. That any and all such action(s) taken in relation to respondents' violation of the Open

Meetings Law are void.


                                 FOR A SECOND CAUSE OF AC110N
                                        (Open Meetings Law)

        67. Petitioner repeats all of the allegations contained in paragraphs "1 11 through "66" of the

verified petition with the same foroe and effect as if at length set forth in this paragraph "67".

        68. By conducting the business of a public body on or about July 1, 2016-eitheras a town

board or as a "board ofpolice com.missioners -without convening such body and without record of

such business, respondenm acted in violation ofthe provisions ofthe Open Meetings Law and failed

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collectively as a body and as public officers to perform a duty required by law.

       69. That as a result of such business, petitioner has been suspended and prevented from the

performance of his duties as the duly appointed Chief of Police of the Clarkstown Police

Department.

        70. That petitioner's suspension and any and all other action(s) taken in relation to

respondents' violation of the Open Meetings Law are void.


                                   FOR A THIRD CAUSE OF ACTION
                                        (Open Meetings Law)

        71. Petitioner repeats all of the allegations contained in paragraphs "1" through "62" of the

verified petition with the same force and effect as if at length set forth in this paragraph "71 11 •

        72. By conducting the business of a public body on or about July 19, 2016 - either as a town

board or as a "board of police commissioners -without convening such body and without record of

such business, respondents acted in violation ofthe provisions ofthe Open Meetings Law and failed

collectively as a body and as public officers to perform a duty required by law.

        73. That as a result of such business, petitioner has been suspended and prevented from the

perfom.i.ance of his duties as the duly appointed Chief of Police of the Clarkstown Police ·

Department.

        74. That petitioner's suspension and any and all other action(s) taken in relation to

respondents, violation of the Open Meetings Law are void.


                                  FOR A FOURTH CAUSE OF ACTION
                                           (CPLR § 7803 [2])

        75. Petitioner repeats all ofthe allegations contained in paragraphs "1" through "62 11 of the


                                                    13
 verified petition with the same force and effect as if at length set forth in this paragraph "75".

         76. In 2004 the Clarkstown Town Board did by resolution abolish the Clarkstown Police

 Commission in accordance with the Rockland County Police Act, § 2 (B).

         77. That since the dissolution of the Clarkstown Police Commission, no police

 commissioner or commissioners have ever been appointed and no board of police commissioners

 re-established by the town board in accordance with the Rockland County Police Act.

         78. That any of respondents' actions purportedly taken as, or on behalf of, the ''board of

 police commissioners" of the Town of Clarkstown, or as a ''police commissioner" of the Town of

 Clarkstown, were without jurisdiction and void.


                                    FOR A FIFTH CAUSE OF ACTION
                                          (CPLR § 7803 [2])

         79. Petitioner repeats all of the allegations contained in paragraphs "I" through ~'62" of the

 verified petition with the same force and effect as if at length set forth in this paragraph "79".

         80. That the investigation of alleged improper conduct and the examination of members of

 the Clarkstown Police Department is vested in the Chief of Police or the Chief's designee.

         81. That in accordance with the Rockland County Police Act and the rules and regulations

 for police disciplinary procedure adopted by the town board, the town board is deemed to have

 knowledge of a member's alleged improper conduct upon completion of the Department's

. investigation "and not before".

         82. By directing the removal of a member of the Clarkstown Police Department serving

 under petitioner's command from. the Strategic Intelligence Unit prior to the completion of the

 Departmene s investigation of the member's alleged improper conduct respondents proceeded


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collectively as a body and as public officers in excess of jurisdiction.

        83. That all of respondents' actions taken in excess of jurisdiction are void.


                                   FOR A SIXTH CAUSE OF ACTION
                                         (CPLR § 7803 [3])

        84. Petitioner repeats all of the allegations contained in paragraphs "1 11 through "62" and

"79" through "8211 of the verified petition with the same force and effect as if at length set forth in

this paragraph ~'84 •
                   11




        85. That the investigation of alleged improper conduct and the examination of members of

the Clarkstown Police Department is vested in the Chief of Police or the Chier s designee.

        86. That in accordance with the Rockland County Police Act and the rules and regulations

for police disciplinary procedure adopted by the town board, the town board is deemed to have

lmowledge of a member's alleged improper conduct upon completion of the Department's

investigation "and not before,,,

        87. By directing the removal of a member of the Clarkstown Police Department serving

under petitioner's command from the Strategic Intelligence Unit prior to the completion of the

Department's investigation of the member's alleged improper conduct respondents proceeded

collectively as a body and as public officers in violation of lawful procedure.

        88. That all of respondents' actions taken in violation oflawful procedure are void.


                                   FOR A SEVENTH CAUSE OF ACTION
                                         (CPLR § 7803 [3])

        89. Petitioner repeats all of the allegations contained in paragraphs "1 11 through "6211 and

"79" through "8711 of the verified petition vvith the same force and effect as if at length set forth in


                                                  15
this paragraph "89 11 •

        90. That the investigation of alleged improper conduct and the examination of members of

the Clarkstown Police Department ~s vested in the Chief of Police or the Chief's designee.

        91. That in accordance with the Rockland County Police Act and the rules and regulations

for police disciplinary procedure adopted by the town board, the town board is deemed to have

knowledge of a member's alleged improper conduct upon completion of the Department's

investigation "and not before".

        92. By directing the removal of a member of the Clarkstown Police Department serving

under petitioner's command from the Strategic Intelligence Unit prior to the completion of the

Department's investigation of the member's alleged improper conduct respondents' directive was

arbitrary and capricious.

        93. That the respondents' decision to remove and reassign Sgt. Cole-Hatchard was arbitrary

and capricious and an abuse of discretion.


                                  FOR AN EIGHTH CAUSE OF ACTION
                          (Retaliatory personnel action by public employer)

        94. Petitioner repeats all of the allegations contained in paragraphs "1 11 through "6611 and

"79" through "93" of the verified petition with the same force and effect as if at length set forth in

this para.graph "94".

         95. By directing the removal of a member of the Clarkstown Police Department serving

under petitioner's command from the Strategic Intelligence Unit prior to the completion of the

Department's investigation of the member's alleged improper conduct, respondents acted in

violation of federal law including the First, Fifth and Fourteenth Amendments to the Federal


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Constitution and the Department's rules and regulations.

         96. Th.at respondents' actions were in violation of federal law and local rule or regulation

and constitute improper government action as defined by Civil Service Law § 75-b and Labor Law

§ 740.

         97. Respondents creation and preferring of disciplinary charges against the petitioner and

petitioner's suspension from duty, based on petitioner's objection to respondents' actions that were

in violation of law, constitute retaliatory personnel action against the petitioner.

         98. That for his entire 33-year career as a law enforcement officer petitioner has maintained

an exemplary unblemished personnel record.

         99, As a result of respondents' retaliatory action, petitioner has been caused to suffer

embarrassment, personal humiliation, mental anguish and to sustain actual damages.

         100.     Petitioner is entitled to recover compensatory dam.ages, reasonable costs, expenses

and attorneys fees.


                                   FOR A NINTII CAUSE OF ACTION
                             (Retaliatory personnel action by employer)

         101.     Petitioner repeats all ofthe allegations contained in paragraphs "l" through "62 11 and

"94" through "100 11 of the verified petition with the same force and effect as if at length set forth in

this paragraph G'l 01 11 ,

         102.     By directing the removal of a member of the Clarkstown Police Department serving

under petitioner,s command from the Strategic Intelligence Unit prior to the completion of the

Department's investigation of the member's alleged improper conduct, respondents acted in

violation ofthe Department's rules and regulations which violation created a substantial and specific


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danger to police and public safety.

       103.    That respondents' actions were in violation of local rule or regulation and constitute

improper government action as defined by Civil Service Law § 75-b and Labor Law § 740.

       104.    Respondents creation and preferring ofdisciplinary charges against the petitioner and

petitioner's suspension from duty, based on petitioner's objection to respondents• actions that were

in violation of law and which created a substantial and specific risk to public safety, constitute

retaliatory personnel action against the petitioner.

        105.   That for his entire 33~year career as a law enforcement officer petitioner has

maintained an exemplary unblemished personnel record.

        106.   As a result of respondents' retaliatory action, petitioner has been caused to suffer

embarrassment, personal humiliatio11i mental anguish and to sustain actual damages.

        107.   Petitioner is entitled to recover compensatory damages, reasonable costs, expenses

and attorneys fees.

                                  FOR A TENTH CAUSE OF ACTION
                                      ("Whistle Blower Law")

        108.    Petitioner repeats all of the allegations contained in paragraphs "1" through G'62" of

the verified petition. with the same force and effect as if at length set forth in this paragraph "108 ".

        109.    In January 2016, petitioner met with Rockland County District Attorney Thomas P.

Zugibe and reported petitioner$ s concern. that a form.er member ofthe Clarkstown Police Department

who was the principal benefactor of HOEHMANN's successful campaign for town supervisor was

using his influence with HOEHMANN, BORELLI and NOTO, to get reinstated to the police

department in order to obtain a pension and medical benefits and to exact his revenge upon those



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who were responsible for his separation from the police department.

       110.    The basis for petitioner's meeting with the District Attorney was petitioner's

reasonable belief that HOEI™ANN and the former police officer had colluded to violate one or

more provisions ofN.Y. Penal Law§ 200.00, et seq., (the "Public Trust Act").

       111.    Petitioner reasonably believed this information to be true based on HOEHMANN' s

expressed interest in pursuing a settlement with the former police officer and HOEHMANN's and

BORELLI' S demonstrated hostility towards petitioner after the 2015 election.

       112.    Following petitioner,s meeting with District Attorney Zugibe, the District Attorney

spoke with HOEHMANN and related to HOEHMANN the sum and substance ofpetitioner's belief
                                                                            .
that there existed potential or actual criminal conduct arising from HOEHMANN's political

campaign.

       113.    Respondents creation and preferring ofdisciplinary charges against the petitioner and

petitioner's suspension from duty, are retaliatory personnel action against the petitioner for his

disclosure to the District Attorney of information which petitioner reasonably believes constitutes

improper governmental action.

       114.    That for his entire 33Qyear career as a law enforcement officer petitioner has

maint.ained an exemplary unblemished personnel record.

       115.    As a result of respondents' retaliatory action, petitioner has been caused to suffer

embarrassment, personal humiliation, mental anguish and to sustain actual damages.

        116.   Petitioner is entitled to recover compensatory dam.ages, reasonable costs and expenses

and attorney's fees.

        117.   Respondents actions constitute oppressive intentional conduct, undertaken with


                                                 19
malicious and vindictive purpose and evince a high degree of moral turpitude, dishonesty and

indifference to the obligations of elective office.

        118.   Petitioner is entitled to recover punitive damages.


                               FOR AN ELEVENTH CAUSE OF ACTION
                                      ("Whistle Blower Law")

        119.    Petitioner repeats all of the allegations contained in paragraphs "1" through "62" and

"108" through "117" of the verified petition with the same force and effect as if at length set forth

in this paragraph "119".

        120.    That sometime following petitioner's meeting with District Attorney Zugibe during

which petitioner had reported his concerns of one or more violations ofN.Y. Penal Law § 200.00,

et seq., and the District Attorney's subsequent conversation with HOEHMANN about petitioner's

concerns, petitioner's computer accessed by one or more unauthorized external intruders.

        121.    Petitioner reported this security breach to CPD' s computer and technology officer and

an investigation was begun by that officer and members of the CPD detective bureau.

        122.    Upon information and belief the unauthorized entry into the CPD computers was

directed by HOEHMANN.

        123.    The unauthorized entzy into the CPD computers was reported to the Rockland County

District Attorney's office.

        124.    That as a result of the reported security breach other law enforcement agencies that

regularly exchange important information with CPD have ceased electronic communications with

the Clarkstown Police Department.

        125.    That the unauthorized entry into the CPD computer systems has resulted in the


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obstruction of governmental administration and a violation ofN.Y. Penal Law§ 195.05.

       126.     That the unauthorized entry into the CPD computer system has created and presents

a substantial and specific danger to police security and public safety.

        127.    That HOEHMANN's actions constitute improper governmental action.

        128.    Respondents creation and preferring ofdisciplinary charges against the petitioner and

petitioner's suspension from duty, are retaliatory personnel action again.st the petitioner for bis

disclosure to the District Attorney ofinformation which petitioner reasonably believes constitutes

improper governmental action.

        129.    That for his entire 33-year career as a law enforcement officer petitioner has

maintained an exemplary unblemished personnel record.

        130.    As a result of respondents' retaliatory action, petitioner has been caused to suffer

embarrassment, personal humiliation, mental anguish and to sustain actual damages.

        131.    Petitioner is entitled to recover compensatory damagesi reasonable costs and expenses

and attorney's fees.

        132.    Respondents actions constitute oppressive intentional conduct, undertaken with

malicious and vindictive purpose and evince a high degree of moral turpitude, wanton dishonesty

and a criminal indifference to the public's safety and welfare.

        13 3.   Petitioner is entitled to recover punitive damages.


                                FOR A TwELFTH CAUSE OF ACTION
                                       (42   u.s.c.
                                                § 1983)

        134.    Petitioner repeats all of the allegations contained in paragraphs "1" through "62" of

the verified petition with the same force and effect as if at length set forth in this paragraph "134".


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        135.      On June 16, 2016, the Journal-News published a story about a lawsuit against the

town over the amount of statutory benefits owed to a retired police officer.

        136.      In that newspaper article HOEHMANN's chief of staff was quoted as blaming the

actions ofthe Town's prior administration for presently costing the taxpayers hundreds of thousands

of dollars.

        137.      The statements by HOEHMANN's chief of staff were misleading and potentially

prejudicial to the town's position in pending litigation.

        138.      The article was republished on social media and drew numerous negative posts by

concerned citizens about the town's handling of the case.

           139.   Petitioner posted to the "blog" his (petitioner,s) response in defense of the town's

actions.

           140.   The negative posts stopped after petitioner's explanation was published on the social

media.site.

           141.   Petitioner had joined   the public discourse on a matter ofpublic interest and concern.
Petitioner's statement served to correct the inaccurate and prejudicial public statements attributed

to HOEH!vfANN"s office.

           142.   Petitioner's public comments constituted protected speech under the First

Amendment to the Federal Constitution.

           143.   That respondents, and each of them lmev-1, or should reasonably have known, that

petitioner's public comments on a matter ofpublic interest and public discourse constituted protected

speech under the First Amendment to the Federal Constitution.

           144.   Acting under color of state law, respondents' creation and preferring of disciplinary


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charges against the petitioner and petitioner's suspension from duty, was in retaliation for and

causally connected to the exercise of petitioner's First Amendment rights.

        145.    Petitioner is entitled to recover compensatory damages, reasonable costs and expenses

and his attorney's fees in this action.

        146.    Respondents' actions constitute oppressive intentional conduct, undertaken with

malicious and vindictive purpose and evincing indifference for the deprivation of petitioner's rights,

privileges and immunities secured by the Federal Constitution.

        147.    Petitioner is entitled to recover punitive damages.


        WHEREFORE, petitioner respectfully demands an order and judgment as follows:

        A. Granting judgment for the petitioner pursuant to CPLR Article 78 and CPLR 3001,

declaring that by conducting business of the town board, or the "board of police commissioners" on

or about July 1, 2016 and on July 19, 2016, respondents acted in violation of the Open Meetings

Law; and

        B. Declaring that petitioner's suspension from duty and all actions ta.ken in relation to

respondents violations ofthe Open Meetings Law, including, inter alia, all adverse personnel actions,

are null and void pursuant to Public Officers Law§ 107 (I); and

        C. Permanently restraining and enjoining respondents from proceeding with any

disciplinary hearing or other ad.verse personnel action against the petitioner arising from or in

relation to respondents' violation of the Open Meetings Law;

        D. Ordering and directing the respondents, pursuant to Public Officers Law§ 107 (1), to

participate in a. training session conducted by the staff of the New York State Committee on Open



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Government concerning the obligations imposed on members ofa public body by the Public Officers

Law § 100, et seq.;

       E. Declaring that, as Chief of Police, the petitioner is the chief executive officer of the

Clarkstown Police Department and further Declaring that the government and control of the

Clarkstown Police Department and its members is vested in the petitioner as Chief of Police;

       F. Declaring that no "board of police commissioners" exists in the Town of Clarkstown in

pursuant to and in accordance with Rockland County Police Act (L.1936,c.526), and that all actions

taken "on behalf of the board of police commissioners~' are without jurisdiction and null and void;

       G. Permanently restraining and enjoining respondents from conducting any business or

enforcing any orders or resolutions or any actions arising from or as "the board of police

commissioners" including~ inter alia proceeding with any disciplinary hearing or other adverse
                                       9




personnel action against the petitioner;

       H. Adjudging that respondents' direction for the removal of a member of the Clarkstown

Police Department serving under petitioner's command from the Strategic Intelligence Unit prior to

the completion of the Department's investigation of the member,s alleged improper conduct was

arbitrary and capricious, in violation of lawful procedure and an abuse of discretion;

       I. Adjudging and Declaring that petitioner's suspension and the preferring of charges based

upon petitioner, s objection to respondents' actions that were in violation offederal law and local rule

or regulation is retaliatory personnel action against the petitioner and restraining and enjoining

respondents continued violation of Civil Service Law§ 75 (b) & Labor Law § 740, further voiding

and setting aside petitioner's suspension from duty;

        J.   Permanently restraining and enjoining respondents from proceeding with any


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disciplinary hearing or other adverse personnel action against the petitioner arising from or in

relation to respondents' violation of federal law and local rule;

        K. Adjudging and Declaring that petitioner's suspension and the preferring of charges based

upon petitioner's objections to respondents' actions that were in violation of law or local rule or

regulation and which created a substantial and specific risk to public safety is retaliatory personnel

action against the petitioner and restraining and enjoining respondents continued violation of Civil

Service Law § 75 (b) & Labor Law § 740, and further voiding and setting aside petitioner's

suspension from duty;

        L. Adjudging and Declaring that petitioner's suspension and the preferring of charges based

upon petitioner's disclosure to the District Attorney of information petitioner reasonably believes

constitutes improper government action is retaliatory personnel action against the petitioner and

restraining and enjoining respondents continued violation of Civil Service Law§ 75 (b) & Labor

Law§ 740, and declaring void and setting aside petitioner's suspension from duty;

        M. Adjudging and Declaring that petitionerts suspension from duty and preferring of

charges based on petitioner's protected speech was in retaliation for and causally connected to the

exercise ofpetitioner's First Amendment rights and restraining and enjoining respondents continued

violation of petitioner's First Amendment rights, and declaring void and setting aside petitioner's

suspension from duty;

        N. Permanently enjoining respondents from proceeding with any adverse personnel action

against the petitioner including, inter alia, scheduling, conducting or otherwise proceeding with the

hearing referenced in the notice and statement of charges dated July 20, 2016, or any amendment or

supplements thereto;


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       0. Awarding petitioner compensatory and exemplary damages, reasonable costs and

expenses and attorney's fees pursuant to Public Officers Law § 107 (2), Civil Service Law 75 (b) &

Labor Law§ 740 (5) and 42 U.S.C. §§ 1983 & 1988; and

       P. Granting peti.tioner/plaintiffivfichael Sullivan such other and further relief as the Court

deems just, proper and equitable.

Dated: West Nyack, New York
       August 18, 2016




                                                      Richard A    lickel
                                                      Attorney r Petitioner/Pl · tiff
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                                                      West Nyack, New York 10994
                                                      (845) 353-4300; fx (845) 353-6221
                                                      rglickel@optonline.net




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                                          VERIFICATION


State ofNewYork )
County of Rockland )ss.:

       Michael Sullivan, being duly swam states that he is the petitioner/plaintiff herein and he has
read the annexed petition/complaint~ knows the contents thereof and the same are true to his
knowledge, except to those matters therein which are stated to be alleged upon inform.a.ti.on and
belief, and as to those matters, deponent believes them to be true.




                                                                Michael Sullivan      ·




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